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                                        UNITED STATES DISTRICT COURT
                                        SOUTHERN DISTRICT OF FLORIDA

                                                  Case No: 1:18-cv-21691

  KARINA MEZZASALMA,
  on behalf of herself and
  all other similarly situated,

              Plaintiff,
  v.

  MDLIVE, INC., a Foreign
  Corporation, and JUSTIN
  WOLLER, individually,

         Defendants.
  __________________________/

                       DEFENDANTS’ REPLY TO PLAINTIFF’S RESPONSE IN
                       OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS

            Defendants, MDLIVE, INC. (“MDLive”) and JUSTIN WOLLER (“Woller”)

  (collectively, “Defendants”), hereby file their Reply to Plaintiff’s Response in Opposition [DE

  16] to Defendants’ Motion to Dismiss Plaintiff’s Amended Complaint [DE 11] and in support

  thereof, states the following:

         I.      Plaintiff Fails to Rebut Defendants’ Arguments, She Failed to Allege Enterprise
                 or Individual Coverage under the Fair Labor Standards Act (“FLSA”)

            Without addressing the case law cited in Defendant’s Motion to Dismiss or citing any

  cases to support her position, Plaintiff’s Response summarily concludes that the Amended

  Complaint pleads enterprise coverage and as result, boldly claims she does not need to address

  Defendants’ argument that she failed to allege individual coverage. See [DE 16] at pg. 5. As set

  forth herein, Plaintiff fails to rebut Defendants’ arguments she failed to allege enterprise or

  individual coverage under the FLSA and as such, the Amended Complaint should be dismissed.

                 A. Plaintiff has insufficiently alleged enterprise coverage under FLSA


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          Plaintiff’s Response argues that the Amended Complaint’s allegations “are not simply

  recitation of the statutory language but uncontested statement to support enterprise coverage.”

  See [DE 16] at pg. 5 (emphasis in original). Plaintiff posits that the allegations in paragraphs 18,

  19, and 20, sufficiently plead enterprise coverage. See [DE 16] at pg. 5.

          Enterprise coverage applies where an employer has (1) at least two employees engaged in

  interstate commerce or the production of goods for interstate commerce, or who handle, sell, or

  otherwise work on goods or materials that had once moved or been produced for in interstate

  commerce, and (2) has gross sales of at least $500,000 in sales annually. 29 U.S.C. §

  203(s)(1)(A)). A plaintiff must demonstrate that, on a regular and recurrent basis, at least two of

  Defendants’ employees engaged in commerce or handled goods and material that have been

  moved in commerce. Villafana v. Our Children’s Planet Corp., 2016 U.S. Dist. LEXIS 86411,

  *2 (S.D. Fla. March 24, 2016) (citing Williams v. Signature Pools & Spas, Inc., 615 F. Supp. 2d

  1374, 1378 (S.D. Fla. 2009) (Ungaro, J.).

          Plaintiff’s Amended Complaint is devoid of any facts to show Defendants’ enterprise has

  at least two employees who engage in interstate commerce. See [DE 9]. Additionally, the

  Amended Complaint contains no factual allegations regarding (i) the nature of Defendants’

  business, (ii) the types of goods or services Defendants provide to customers, (iii) whether such

  goods or services are connected to interstate commerce; nor (iv) does it connect the work she

  allegedly performed to interstate commerce. Plaintiff may not argue that the Court should imply

  this from her conclusory barebones allegations. Villafana, 2016 U.S. Dist. LEXIS at *2

  (dismissing Complaint where it was devoid of any factual allegations showing the nature of

  Defendant’s work, how the alleged materials connected to that work, or how many employees

  besides the Plaintiff handled the materials).


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          Moreover, Plaintiff fails to rebut the case law cited by Defendant wherein this Court

  dismissed a complaint containing similar allegations. In Ceant v. Aventura Limousine & Transp.

  Serv., the plaintiff alleged only that “during her employment with [defendant], she was engaged

  in commerce or in the production of goods for commerce.” 874 F. Supp. 2d 1373, 1377 (S.D. Fla

  June 27, 2012). This Court allowed leave to amend, but specifically called for the plaintiff to

  “…set forth the nature of [Defendants’] business and precisely what [Plaintiff] did in the course

  of his employment, taking care to explain how [Defendants’] business, and his work for the

  company, connects to interstate commerce.” Id.

          By failing to address Defendants’ arguments in her Response, Plaintiff has conceded that

  this controlling authority applies and that she has failed to allege enterprise coverage. Fisher v.

  Residential Realty Servs., Corp., 2016 U.S. Dist. LEXIS 163147, at *4 (S.D. Fla. November 23,

  2016)(Scola, J.) (citing Brady v. Medtronic, Inc., No. 13-CV-62199-RNS, 2014 U.S. Dist.

  LEXIS 52151, 2014 WL 1377830, at *6 (S.D. Fla. Apr. 8, 2014) (Scola, J.) (“Generally, a

  ‘litigant who fails to press a point by supporting it with pertinent authority, or by showing why it

  is sound despite a lack of supporting authority or in the face of contrary authority, forfeits the

  point. The court will not do his research for him.'" (quoting Phillips v. Hillcrest Med. Ctr., 244

  F.3d 790, 800 n. 10 (10th Cir. 2001) (internal quotation marks omitted))). Accordingly, the

  Amended Complaint lacks any factual support necessary to state a cause of action, and as such,

  Plaintiff’s Amended Complaint should be dismissed.

               B. The Amended Complaint fails to allege individual coverage under the FLSA

          Plaintiff does not provide counterarguments relative to individual coverage. Instead, her

  Response asserts an analysis of her individual coverage is moot in light of her establishing




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  enterprise coverage. See [DE 16] at pg.5. However, as stated above, Plaintiff failed to plead

  enterprise coverage.

          The Amended Complaint and Response says nothing as to how the work of the Plaintiff

  was tied to interstate commerce, nor does it in any way describe what work the Plaintiff

  performed for MDLive. See [DE 9 at ¶9]. Additionally, Plaintiff fails to rebut Defendant’s

  argument that “[m]erely because an instrumentality may be used in interstate commerce, does

  not mean the instrumentality is used in interstate commerce (for instance, a telephone may be

  used to call locally, or to call across state lines.”). See Attai v. Delivery Dudes, LLC, 2016 U.S.

  Dist. LEXIS 27298, at *8 (S.D. Fla. March 2, 2016) (Bloom, J.). Again, by failing to address

  Defendants’ arguments in her Response, Plaintiff has conceded that individual coverage does not

  exist. Fisher, 2016 U.S. Dist. LEXIS 163147, at *4. Accordingly, the Amended Complaint lacks

  any factual support or link between the work she allegedly performed and interstate commerce.

  Absent the requisite allegations necessary to state a cause of action, Plaintiff’s Amended

  Complaint must be dismissed.

               C. Plaintiff Failed to Plead Facts Supporting her Non-Exempt Status

          Plaintiff fails to rebut Defendant’s argument that the Amended Complaint fails to allege

  facts to support Plaintiff was a non-exempt employee. Rather, Plaintiff’s Response argues there

  is no requirement Plaintiff prove she was non-exempt. See [DE 16] at 6. Plaintiff relies on Matos

  v. Macmillan Oil Co. of Fla., for the proposition that she is not required to plead she is a non-

  exempt employee. 2014 U.S. Dist. LEXIS 191059, *9 (S.D. Fla. April 22, 2014).

          However, in Matos, the plaintiff had pled both individual and enterprise coverage. Id. at

  *10. Thus, the court found there was no justification in requiring the plaintiff to also plead non-

  exempt status. Id. In the instant matter, Plaintiff has not done so. Plaintiff fails to point to any


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  facts in her Amended Complaint where she alleges any facts regarding what Plaintiff’s position

  was, or what she actually did at work. While a Plaintiff need not do much to state a claim for

  FLSA, the Amended Complaint’s empty echoing of the most basic FLSA legal standards cannot

  be sufficient under Iqbal and Twombley, and the cases in this Circuit and elsewhere applying

  them to the FLSA.

       II.      Plaintiff Fails to Rebut Defendants’ Argument the Amended Complaint Fails to
                Sufficiently Plead a Collective Action

           Plaintiff’s Response asserts that it is premature for Defendants to argue that the Amended

  Complaint fails to set forth any allegations regarding other similarly situated individuals1. See

  [DE 16] at pg. 7. Defendants respectfully disagree. Defendants are not arguing Plaintiff has to

  prove, with evidence, in her Amended Complaint that the alleged class of similarly situated

  individuals are indeed similarly situated to the Plaintiff. Rather, Plaintiff must, at minimum,

  demonstrate that she and the other employees are, in fact, similarly situated, to state a cause of

  action for a FLSA collective action. The relevant case law in this Circuit supports Defendants’

  argument.

           In Sanchez v. Piripi VMP, LLC, the Honorable Judge Moreno granted defendant’s motion

  to dismiss the plaintiff’s FLSA collective action. 2016 U.S. Dist. LEXIS 28751, *5 (S.D. Fla.

  March 4, 2016). Judge Moreno stated “Plaintiff’s complaint does not identify a group of

  employees of Defendants, who share commonality with Plaintiff. Plaintiff merely states that a

  group of Defendants’ employees were also not paid for overtime. That alone is insufficient to

  state a claim for an opt-in class.” See id.




  1 Plaintiff’s Response also alleges Defendants’ argue this Court should dismiss the Amended Complaint because
  Plaintiff failed to provide the class member written consents to join a class. [DE 16] at pg. 7. However, Defendants
  did not make this argument in their Motion to Dismiss. [DE 11].
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          In Jimenez v. Fla. Supplement, LLC, the Honorable Judge Bloom dismissed a collective

  action complaint which alleged only that plaintiff “performs ‘packaging duties’ ” and that “there

  are other similarly situated current and former employees in the packaging department” who

  “performed similar[] duties for Defendant and were subject to similar policies as to

  compensation”). 2016 U.S. Dist. LEXIS 123968, at *4 (S.D. Fla. Sept. 13, 2016). Judge Bloom

  found these allegations conclusory and insufficient to state a claim for a collective action under

  the FLSA. Id. at *11.

          In Bule v. Garda CL Southeast, Inc., the Honorable Judge Moreno granted a motion to

  dismiss the plaintiff’s FLSA collective action finding “Plaintiff’s Complaint failed to plead or

  define any attributes of the allegedly similarly situated employees.” 2014 U.S. Dist. LEXIS

  95618, *10 (S.D. Fla. July 11, 2014). He explained that, when a plaintiff brings an FLSA action

  for and on behalf of similarly situated employees, “the complaint should indicate who the other

  employees are, and allege facts that would entitle them to relief.” Id. He noted, Bule’s Complaint

  “contains no description of the job duties of the alleged similarly situated employees and has no

  allegations concerning the pay provisions of those proposed employees.” Id.

          In the instant matter, Plaintiff’s Amended Complaint suffers from the same deficiencies

  as Sanchez, Jimenez, and Bule. Sanchez, 2016 U.S. Dist. LEXIS 28751, at *5; Jimenez, 2016

  U.S. Dist. LEXIS 123968, at *4; Bule, 2014 U.S. Dist. LEXIS 95618, at *10. Specifically,

  Amended Complaint’s conclusory preamble states that she brings this action “on behalf of

  herself and all others similarly situated,” the first paragraph’s unelaborated note that “[t]his is a

  collective action,” and asserts the legal conclusion that “Defendants also misclassified similarly

  situated employees as independent contractors in order to avert the federal over time laws,” See

  [DE 9] at ¶14. Other than these conclusory statements, there is absolutely no mention of a


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  collective, class, or any other MDLive employees anywhere throughout the rest of the Amended

  Complaint. Plaintiff’s Response does not rebut this. Undeniably, the Amended Complaint fails to

  identify any other similarly situated person, a description of their job duties or their pay

  provisions. See generally [DE 9]. Plaintiff cannot proceed with an FLSA collective action,

  simply because she asserts in a conclusory manner that there are other similarly situated

  employees without providing any supporting facts. As a result, Plaintiff’s FLSA collective action

  allegations should be dismissed.

      III.     Plaintiff Fails to Rebut Defendants’ Argument the Amended Complaint Fails to
               Sufficiently Plead a FLSA Retaliation Claim

          Plaintiff’s Amended Complaint in regard to FLSA retaliation merely states “[t]he

  motivating factor that caused Plaintiff's adverse employment action . . . was Plaintiff's complaint

  regarding not being properly paid for all hours worked.” See [DE 9] at ¶ 33.

          However, Plaintiff provides no allegations regarding the circumstances surrounding

  Plaintiff's termination; for example, the Amended Complaint does not indicate how she was

  terminated. In fact, the Amended Complaint does not even allege she was terminated. See [DE

  9]. Plaintiff’s Response, in a footnote, alleges she inadvertently left out the fact she failed to

  suffer an adverse employment action and ask this Court for permission to amend her conclusory

  retaliation allegations to avoid dismissal, which is impermissible. See GJR Investments, Inc. v.

  Cnty. of Escambia, 132 F.3d 1359, 1368 (11th Cir. 1998) (rejecting plaintiff's attempt to correct

  the complaint’s deficiencies in arguments made in a brief), overruled on other grounds as

  recognized in Randall v. Scott, 610 F.3d 701 (11th Cir. 2010)); see also Afkhami v. Carnival

  Corp., 305 F. Supp. 2d 1308, 1311 (S.D. Fla. 2004) (holding that in deciding a motion to

  dismiss, a court may only examine the four corners of the complaint and not matters outside of



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  the complaint). This allegation, which is not found in the Amended Complaint, should be

  disregarded.

          Moreover, the Amended Complaint is devoid of any allegation that Defendants

  terminated the Plaintiff because she allegedly complained of unpaid overtime wages. Rather,

  Plaintiff asserts nothing but legal conclusions that “Defendants intentionally misclassified

  Plaintiff as an independent contractor in order to avert federal overtime laws.” See [DE 9] at ¶

  14. “The burden of causation can be met by showing close temporal proximity between the

  statutorily protected activity and the adverse employment action.” Erling v. Am. Grille with Sushi

  LLC, 2018 U.S. Dist. LEXIS 32036, *4 (M.D. Fla. February 28, 2018) (citing Thomas v. Cooper

  Lighting, Inc., 506 F.3d 1361, 1364 (11th Cir. 2007)). However, the pleading contains zero facts

  concerning when her alleged complaints were made and her termination. As such, the Amended

  Complaint fails to support Plaintiff’s conclusion that her termination was solely due to her

  alleged complaints of unpaid overtime wages violations, let alone that she would not have been

  terminated “but for” her alleged complaints. Accordingly, Plaintiff’s FLSA retaliation claim

  should be dismissed.

      IV.      The Amended Complaint Should be Dismissed with Prejudice

          Lastly, Plaintiff’s Response argues dismissal with prejudice is not appropriate and there

  is no substantial reason to deny leave to amend. See [DE 16] at pg. 10-11. However, this is not

  Plaintiff’s first attempt to state a cause of action against the Defendants. On February 15, 2018,

  Plaintiff filed her Complaint [DE 1-4] in state court. After removal, Defendants’ moved to

  dismiss the Complaint [DE 6]. In lieu of filing a Response to Defendants’ Motion to Dismiss the

  Complaint [DE 6], Plaintiff filed the operative Amended Complaint [DE 9].




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          As set forth herein, after two attempts, Plaintiff continues to fail to state a cause of action

  against the Defendants. Instead, Plaintiff continues to provide nothing more than a threadbare

  recital of facts and conclusory statements. Accordingly, dismissal with prejudice is warranted.

  See Rodriguez v. Lozano, 2011 U.S. Dist. LEXIS 59692, at *4 (S.D. Fla. May 25,

  2011)(dismissing FLSA complaint with prejudice after the court permitted Plaintiff multiple

  opportunities to state a claim against Defendants).

          For the reasons stated herein and in Defendants’ Motion to Dismiss [DE 11], Defendants

  respectfully request that this Court dismiss the Amended Complaint pursuant to Fed. R. Civ. P.

  12(b)(6), for failure to state a claim upon which relief may be granted.

                                          CERTIFICATE OF SERVICE

          WE HEREBY CERTIFY that on this 19th day of June, 2018, we presented the foregoing

  to the Clerk of the Court for filing and uploading to the CM/ECF system. We further certify that

  we sent the foregoing document via email to the individuals listed on the attached service list.

                                                                 By: /s/ Sheena D. Smith
                                                                    BARRY POSTMAN
                                                                    Fla. Bar No.: 991856
                                                                    S. JONATHAN VINE
                                                                    Fla. Bar No.: 10966
                                                                    SHEENA D. SMITH
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